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                                                                                      Lawrence S. Lustberg
                                                                                      Director

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                                                                   January 16, 2020


VIA ECF and FEDEX

Honorable Edward S. Kiel,
United States Magistrate Judge
Martin Luther King Bldg. &
 United States Courthouse
50 Walnut Street, Courtroom PO 08
Newark, New Jersey 07101

           Re:        Wael Hana v. United States, 20-cv-536 (CCC) (ESK)

Dear Judge Kiel:

        This Firm represents Wael Hana in the above captioned-matter, which we understand has
today been newly assigned to the Honorable Claire C. Cecchi, United States District Judge, and to
Your Honor. On January 14, 2020, Mr. Hana filed a motion seeking the return of property that
was seized by the Government from his New Jersey residence and business. See Dkt. Nos. 1-2.
Consistent with Your Honor’s judicial preferences, we are forwarding a courtesy copy of Mr.
                                                                                     1
Hanna’s application to Your Honor’s chambers under cover of this correspondence. Earlier today,
the Government wrote to Your Honor and requested permission to file its response by February 4,
2020. Given the lapse of time since the seizure of these items, and the Government’s refusal to
return any of them, to provide any realistic basis for not doing so, or even to provide a time frame
by which some or all of them would be returned, as was promised, Mr. Hana respectfully requests
that the Court instead expedite proceedings in this matter, or, in the alternative, schedule a
telephone conference on an expedited basis to address the issue of scheduling such proceedings.

       Because the Government’s actions in holding Mr. Hana’s property indefinitely, without the
process that would be available should it have brought this matter before the Court, either by
charging him or bringing a forfeiture action is unlawful and unconstitutional, and based upon Mr.
Hana’s urgent need for these materials, as set forth in his Motion and supporting documents, Mr.
Hana respectfully requests that the Court hear and decide this matter as quickly as possible.
Specifically, he opposes the prolonged scheduled suggested by the Government and respectfully
requests that the Government be required to file its response on or before January 21, 2020, with
any reply by Mr. Hana filed on or before January 24, 2020.

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  Federal Rule of Criminal Procedure 41(g) requires that Mr. Hana’s motion for return of property
from the Government be made in the district where the items were seized. His application includes
the following documents: (1) Notice of Motion; (2) Brief in Support of Motion for the Return of
Property pursuant to Federal Rule of Criminal Procedure 41(g); (3) Declaration of Wael Hana; (4)
Declaration of Lawrence S. Lustberg; (5) Proposed Order; and (6) Declaration of Service.
New Jersey New York Pennsylvania Delaware Washington, DC Florida                          gibbonslaw.com
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January 16, 2020
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       Please feel free to contact me if Your Honor has any questions or concerns. Thank you
for your kind consideration of this matter.



                                                  Respectfully submitted,


                                                  s/Lawrence S. Lustberg
                                                  Lawrence S. Lustberg, Esq.

Enclosures
cc:    Jason A. Richman, AUSA (via ECF and Email without enclosures)
       Gillian Grossman, AUSA (via ECF and Email without enclosures)
